                                            Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 1 of 24




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       NATIONAL ABORTION FEDERATION,                    Case No. 15-cv-03522-WHO
                                                        Plaintiff,
                                   8
                                                                                            ORDER OF CIVIL CONTEMPT
                                                 v.
                                   9

                                  10       CENTER FOR MEDICAL PROGRESS, et
                                           al.,
                                  11                    Defendants.
                                  12
                                                Based on the evidence before me, the record in this case, the failure of defendant Center
Northern District of California
 United States District Court




                                  13
                                       for Medical Progress (CMP), defendant David Daleiden, respondent Steve Cooley and respondent
                                  14
                                       Brentford J. Ferreira to provide sufficient evidence in response, and for the reasons discussed
                                  15
                                       below, I HOLD CMP, Daleiden, Cooley, and Ferreira in CIVIL CONTEMPT for multiple
                                  16
                                       violations of the February 5, 2016 Preliminary Injunction (PI). As detailed below, these
                                  17
                                       individuals and the entity willfully violated the clear commands of the PI by publishing and
                                  18
                                       otherwise disclosing to third-parties recordings covered by the PI.1
                                  19
                                                                                 BACKGROUND
                                  20
                                       I.       PRELIMINARY INJUNCTION
                                  21
                                                The parties and respondents are familiar with the factual and procedural history of this
                                  22
                                       case. Significant to the issue of contempt, on February 5, 2016, I entered a preliminary injunction
                                  23
                                       (affirming a prior existing Temporary Restraining Order), mandating the following:
                                  24
                                                       Pending a final judgment, defendants and those individuals who
                                  25                   gained access to NAF’s 2014 and 2015 Annual Meetings using
                                                       aliases and acting with defendant CMP (including but not limited to
                                  26                   the following individuals/aliases: Susan Tennenbaum, Brianna

                                  27
                                       1
                                  28    The motions to seal, Docket Nos. 416, 433, 437, 442, 462, and 470 are GRANTED as
                                       compelling reasons justify the continued sealing of the materials at issue.
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 2 of 24



                                                        Allen, Rebecca Wagner, Adrian Lopez, and Philip Cronin) are
                                   1                    restrained and enjoined from:
                                   2                           (1) publishing or otherwise disclosing to any third party any
                                                        video, audio, photographic, or other recordings taken, or any
                                   3                    confidential information learned, at any NAF annual meetings;
                                   4                            (2) publishing or otherwise disclosing to any third party the
                                                        dates or locations of any future NAF meetings; and
                                   5
                                                               (3) publishing or otherwise disclosing to any third party the
                                   6                    names or addresses of any NAF members learned at any NAF
                                                        annual meetings.
                                   7
                                       Preliminary Injunction [Dkt. No. 354] at 42. The PI was affirmed by the Ninth Circuit. National
                                   8
                                       Abortion Federation v. Center for Medical Progress, 2017 WL 1164450 (9th Cir. March 29,
                                   9
                                       2017).2
                                  10
                                       II.       CRIMINAL INVESTIGATION AND COMPLAINT
                                  11
                                                 On April 5, 2016, the California Attorney General executed search warrants and seized
                                  12
Northern District of California




                                       Daleiden’s computers and devices containing materials covered by the PI. Foran Decl., Ex. A.
 United States District Court




                                  13
                                       (Affidavit in Support of Arrest Warrant). A few days later, Daleiden retained Steve Cooley and
                                  14
                                       Brentford J. Ferreira of Steve Cooley & Associates (SCA) to represent him in any criminal
                                  15
                                       proceedings. On April 15, 2016, NAF’s counsel sent a letter to the California Attorney General,
                                  16
                                       notifying the AG that the seized materials are covered by the PI in this case. In July 2016, Ferreira
                                  17
                                       and Deputy Attorney General (DAG) Johnette Jauron meet with the Honorable Terri Jackson of
                                  18
                                       the San Francisco Superior Court to consolidate proceedings related to the search warrants and
                                  19
                                       venue them in San Francisco. During that meeting, Presiding Judge Jackson ordered the DAG to
                                  20
                                       provide all seized evidence to SCA so that SCA could review the evidence for materials that were
                                  21
                                       privileged in connection with this civil case.
                                  22
                                                 On March 28, 2017, the California Attorney General’s Office issued a press release that it
                                  23
                                       had filed a criminal complaint against Daleiden and Sandra Susan Merritt. Foran Decl., Ex. A.
                                  24
                                       (Criminal Complaint). The Criminal Complaint alleges that Daleiden and Merritt illegally tape
                                  25
                                       recorded 14 “Does” on various dates in California, the majority of which occurred during NAF’s
                                  26
                                  27
                                       2
                                  28    Defendants may seek certiorari with the United States Supreme Court; the time for filing a
                                       petition for a writ of certiorari has not yet run.
                                                                                          2
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 3 of 24




                                   1   2014 Annual Meeting in San Francisco. See generally Criminal Complaint. On the same day as

                                   2   the announcement, the Hon. Carol Yaggy of San Francisco Superior Court sealed the declaration

                                   3   in support of the arrest warrant. Id.

                                   4            On May 3, 2017, Daleiden was arraigned and the Criminal Complaint was filed with Judge

                                   5   Yaggy’s sealing order. On the same day, SCA filed a demurrer challenging the sufficiency of the

                                   6   Criminal Complaint on behalf of Daleiden. Foran Decl., Ex. D (Demurrer). Footnote 1 of the

                                   7   Demurrer contained a link to a YouTube “playlist” containing 337 videos “published” by CMP

                                   8   and labelled “San Francisco Superior Court Defense Filing.” Foran Decl., Ex. E (“Defense

                                   9   Filing” playlist).3 The Demurrer was accompanied by a Request for Judicial Notice (RJN) asking

                                  10   the Superior Court to take notice of the videos under California Evidence Code § 452. Foran

                                  11   Decl., Ex. F. Exhibit 1 to the RJN included the same YouTube link to the Defense Filing playlist

                                  12   as Footnote 1. Foran Decl. ¶ 13. 334 of the videos “published” by CMP in the YouTube Defense
Northern District of California
 United States District Court




                                  13   Filing playlist were recordings included within the scope of the PI. Foran Decl., ¶ 12. Videos 4

                                  14   through 336 contain raw unedited footage taken by Daleiden at NAF’s Annual Meetings in San

                                  15   Francisco and Baltimore. Id. & Ex. E.4

                                  16            SCA did not seek to seal Footnote 1 of the Demurrer or Exhibit 1 to the RJN. Foran Decl.,

                                  17   ¶ 13. The Defense Filing playlist link was described by SCA as “private” in the Demurrer, but

                                  18   anyone could use that link to access the playlist. Foran Decl., ¶ 12. A flash drive containing the

                                  19   same videos was also submitted to the Superior Court on May 3, 2017. Demurrer, Footnote 1.5

                                  20            On May 16, 2017, the DAG sent SCA a thumb drive containing just over 20 excerpts of

                                  21   videos that were the basis of the Criminal Complaint. The thumb drive was password protected.

                                  22

                                  23
                                       3
                                  24    The full title of the playlist is “San Francisco Superior Court Defense Filing” and the last
                                       updated date is May 3, 2017. Ex. E.
                                  25   4
                                           Video 337 is the Preview video discussed below.
                                  26   5
                                        The flash drive was maintained by the Hon. Christopher Hite (the judge assigned to the criminal
                                  27   proceedings) and was not accessible by the public. Foran Decl. ¶ 12. In the June 21, 2017,
                                       hearing on Daleiden’s Demurrer, Judge Hite declined to take judicial notice of the videos and
                                  28   ordered the flash drive be removed from the court’s docket. Foran Reply Decl., Ex. C (Transcript
                                       of June 21, 2007 hearing) at 5:27 – 6:5.
                                                                                       3
                                         Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 4 of 24



                                       III.   FURTHER PUBLISHING AND DISCLOSURE OF PI MATERIALS
                                   1
                                              Also on May 3, 2017, another video was uploaded to CMP’s YouTube channel. This 3
                                   2
                                       minute and 9 second video was titled “Preview.” Foran Decl., Ex. G. It was marked as
                                   3
                                       “private/unlisted” so members of the public could not (yet) know it was there. Foran Decl. ¶ 14.
                                   4
                                       The Preview video contains fifteen “clips” or segments, all or substantially all of which were taken
                                   5
                                       at NAF’s 2014 and 2015 Annual Meetings in San Francisco and Baltimore and covered by the PI.
                                   6
                                       Foran Decl. ¶ 4. The video features CMP’s logo and website in the bottom right corner and
                                   7
                                       identifies the titles and affiliations/locations of eleven NAF members. Foran Decl. ¶ 5. The video
                                   8
                                       concludes with a request for viewers to “share” the video, to “hold Planned Parenthood
                                   9
                                       accountable for their illegal sale of baby parts” and “to learn more at
                                  10
                                       centerformedicalprogress.org.” Id. Only seven of the eleven NAF members identified in the
                                  11
                                       Preview video are Does in the Criminal Complaint. Transcript of July 11, 2017 Hearing at 42:1-4.
                                  12
Northern District of California




                                              Between May 12 and May 24, 2017, a further 2 hours and 9 minutes of PI materials were
 United States District Court




                                  13
                                       uploaded to CMP’s YouTube channel. Foran Decl. ¶¶ 9-10. These 14 videos were taken at
                                  14
                                       NAF’s Annual Meetings in San Francisco and Baltimore, and are excerpts of recordings of each of
                                  15
                                       the Does from the Criminal Complaint. Foran Decl. ¶ 10. The videos, plus three others not
                                  16
                                       covered by the PI, were collected into a playlist titled “San Francisco Superior Court Defense
                                  17
                                       Filing – Accusers.” Foran Decl., Ex. C (hereafter “Accusers” playlist). The videos and playlist
                                  18
                                       were marked as private/unlisted. Foran Decl. ¶ 9.
                                  19
                                              On May 24, 2017, at 8:43 p.m. Eastern Standard Time (“EST”), the online blog “The Next
                                  20
                                       Right Step” published a “Breaking News” story that referred to SCA’s launch of a media resource
                                  21
                                       page regarding SCA’s representation of Daleiden. Foran Decl., Ex. H; Second Supp. Foran Decl.,
                                  22
                                       Ex. A. The story provided links to the SCA “Media Page” and includes links to the Criminal
                                  23
                                       Complaint, Demurrer, RJN, and all the video footage “referenced” in the Criminal Complaint. Id.,
                                  24
                                       Ex. H. On May 25, 2017, at 12:01 a.m. EST, the Preview video was published on the National
                                  25
                                       Review website. Foran Decl., Ex. J; Foran Second Supp. Decl., Ex. B. The video was embedded
                                  26
                                       on the site and described as a “shocking new video” “from The Center for Medical Progress.” Id.
                                  27
                                       The National Review website also linked to SCA’s Media Page where “all the video footage”
                                  28
                                                                                         4
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 5 of 24




                                   1   referenced by the California Attorney General’s office “can be found.” Id. At 5:47 a.m. EST, the

                                   2   Susan B. Anthony list published the Preview video on Twitter, also describing it as a “shocking

                                   3   new video” attributed to CMP. Foran Decl., Ex. L. Then at 8:15 a.m. EST, the Preview video

                                   4   was published by another Twitter user. Foran Decl., Ex. N.

                                   5          At some point on May 25, 2017, SCA’s Media Page went live and was accessible to the

                                   6   public from the SCA website. Foran Decl. ¶ 4. NAF’s counsel declares on information and belief

                                   7   that the page went live in “the early hours” of May 25, 2017. Id. The first thing on the SCA

                                   8   Media Page is an embedded copy of the Preview video. Foran Decl., Ex. B. The Media Page

                                   9   goes on to announce SCA’s representation of Daleiden and acknowledges the existence of the

                                  10   Preliminary Injunction “preventing David from posting any videos taken at the 2014 and 2015

                                  11   NAF conventions.” Id. The SCA Media Page then linked to the Demurrer and RJN (and Exhibit

                                  12   1), from which readers could see the “private” YouTube link and get to the CMP “Defense Filing”
Northern District of California
 United States District Court




                                  13   playlist, allowing access to the 337 videos (including the 144 hours of raw footage from the NAF

                                  14   San Francisco and Baltimore conferences). Foran Decl. ¶ 11. The 14 Does from the Criminal

                                  15   Complaint were also identified on the SCA Media Page. Id. Finally, viewers were provided a link

                                  16   to access the Accusers playlist containing the “video-recordings related to interviews” with the

                                  17   Does. Id.; see also Foran Decl. ¶ 9.

                                  18   IV.    TAKE DOWN ORDER
                                  19          NAF’s counsel became aware of the disclosures of the PI material around 8:30 a.m. on

                                  20   May 25, 2017, and immediately contacted defense counsel in this civil case, demanding immediate

                                  21   removal of the materials from YouTube and SCA’s website. Foran Decl., ¶ 22 & Ex. O. Shortly

                                  22   thereafter, NAF’s counsel contacted SCA and likewise demanded removal of all PI materials.

                                  23   Foran Decl., ¶¶ 23-24 & Ex. P. NAF then alerted me to the disclosures. I set a telephonic hearing

                                  24   for 4:00 p.m. Pacific Standard Time that day. Dkt. No. 408. Shortly before the 4:00 p.m.

                                  25   telephonic hearing, YouTube blocked access to the links on its site. Foran Decl. ¶ 26.

                                  26          During the telephonic conference, I directed the parties that the links to PI materials on the

                                  27   SCA website and YouTube should “be taken down within the next 15 minutes, if they haven't

                                  28   been taken down already.” May 25, 2017 Transcript [Dkt. No. 413] at 6:12-15:11:23-24. Shortly
                                                                                        5
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 6 of 24




                                   1   after the hearing, but before my written Order was issued, the list of “Doe” names and the Preview

                                   2   video were removed from the SCA website. Foran Decl. ¶ 28. The links to the YouTube

                                   3   playlists, however, remained. Id.

                                   4           At 5:24 p.m. on May 25, 2017, my Order Directing Compliance with Preliminary

                                   5   Injunction and Order to Show Cause re Contempt was filed. Dkt. No. 409. Under that Order:

                                   6                  To protect the integrity of the Preliminary Injunction and given the
                                                      significant privacy concerns at stake, Daleiden is hereby ORERED
                                   7                  to require his counsel – Steve Cooley and Brentford J. Ferreira of
                                                      Steve Cooley & Associates and all those working with or for his
                                   8                  counsel –IMMEDIATELY to take down from their website all links
                                                      to recordings covered by the Preliminary Injunction and remove all
                                   9                  references to the identities of any NAF members who were subjects
                                                      of the recordings covered by the Preliminary Injunction. Daleiden
                                  10                  and his counsel are also ORDERED IMMEDIATELY to undertake
                                                      all efforts to remove from YouTube the recordings covered by the
                                  11                  Preliminary Injunction. If Daleiden, his counsel, or any defendant in
                                                      this action or their counsel has caused any of the information
                                  12                  covered by the Preliminary Injunction to be published or posted in
Northern District of California




                                                      any other manner since entry of the Preliminary Injunction, they are
 United States District Court




                                  13                  ORDERED IMMEDIATELY to take it down.
                                  14   May 25, 2017 Order at 2. However, the links to YouTube playlists remained on the SCA Media

                                  15   Page through May 26 and 27. Foran Decl. ¶ 28. The SCA media page was taken down sometime

                                  16   over the following weekend. Id.6

                                  17   V.      ADDITIONAL DISSEMINATION OF THE PI MATERIALS
                                  18           Despite the blocking on YouTube, and the belated actions of SCA in removing the Preview

                                  19   video, Doe names, and eventually the YouTube links, the PI materials were accessed and shared

                                  20   by numerous third parties. In one instance, the 144 hours of the raw footage were loaded to a site

                                  21   for public viewing (that site was subsequently blocked through NAF’s efforts). Foran Decl. ¶ 31.

                                  22   The Preview video – containing excerpts of PI material and disclosing the names of the NAF

                                  23   members shown – was posted on Facebook and viewed more than 469,000 times and shared

                                  24

                                  25   6
                                         In declarations submitted after the OSC re Contempt Hearing, Cooley and Ferreira declare that
                                  26   the PI materials were “taken down at approximately 4:55 p.m. on May 25, 2017.” Dkt. Nos. 477,
                                       478, ¶ 3. Cooley goes on to declare that he hired a computer forensic firm, and the research that
                                  27   firm conducted made it “reasonable to conclude” that the SCA Media Page was “removed
                                       sometime between 5/25/2017 and 5/26/2017.” Dkt. No. 478-1, ¶ 7. However, neither Cooley nor
                                  28   Ferreira – who presumably have knowledge about their own website, and who admit to posting the
                                       Media Page in the first instance – provide any evidence as to when the Media Page came down.
                                                                                        6
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 7 of 24




                                   1   13,400 times. Foran Decl., ¶¶ 33-34 & Ex. V.

                                   2   VI.     NAF’S RESPONSE
                                   3           After being alerted to the disclosures, NAF placed its security team on “high alert.”

                                   4   Declaration of Senior Director of Security Gannon in Support of NAF’s Response to Order to

                                   5   Show Cause re Contempt [Dkt. No. 416-4] ¶ 3. NAF immediately contacted all of the members

                                   6   shown or mentioned in the Preview video or disclosed as a Doe on SCA’s website to advise them

                                   7   of the situation and encourage them to take precautions to ensure their safety. Gannon Decl. ¶ 3.

                                   8   NAF’s outside security firm was asked to monitor social media platforms for threats made against

                                   9   any of its members who appeared in the Preview video, as well as any of the identified Does. Id.

                                  10   Within one hour, NAF’s outside security firm reported back, detailing a number of what it

                                  11   considered threats; defendants characterize them as merely rhetoric. Id. ¶ 4.

                                  12           The monitoring by NAF and its outside security firm has confirmed that since May 25th,
Northern District of California
 United States District Court




                                  13   NAF and its members whose identities were disclosed in the Preview video and on SCA’s website

                                  14   have seen a sharp increase in “negative and disturbing” threats. Id. ¶ 8; see also Gannon Supp.

                                  15   Declaration [Dkt. No. 462-9] ¶¶ 2-4.7 For example, one NAF member shown in the “Preview”

                                  16   video received direct written communications just hours after it was published calling them “evil,”

                                  17   “a baby killer,” and a “systematic murderer.” Gannon Decl. ¶ 6. Another NAF member’s

                                  18   image— utilizing a headshot from the “Preview” video — has been circulating online and

                                  19   generating comments that caused the NAF member to hire a private security firm to drive them to

                                  20   and from work and caused other disruptions to their and their families lives. Id. ¶ 7.

                                  21           NAF security personnel have met with other NAF members and members of their families

                                  22   to monitor and provide recommendations on their security. Id. ¶ 9. It was forced to divert both

                                  23   internal and outside consultant staff from other projects to work on monitoring and responding to

                                  24
                                       7
                                  25     Daleiden and CMP object to Paragraph 4 of the Gannon Supplemental Declaration – discussing
                                       the threats a NAF-member physician identified in the Preview video received – as hearsay and
                                  26   lacking personal knowledge. Objections [Dkt. No. 469]. The personal knowledge objection is
                                       OVERRULED. The hearsay objection is sustained in part as to the quoted threats, but
                                  27   OVERRULED as Gannon’s understanding that specific threats were made to the physician.
                                       Daleiden and CMP also object as hearsay to news reports attached as Exhibit A and B to the
                                  28   Supplemental Foran Declaration. Id. I have not considered those news reports in reaching my
                                       conclusion as to contempt and remedy. Therefore, those objections are OVERRULED as moot.
                                                                                      7
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 8 of 24




                                   1   the disclosure of the PI information. Gannon Decl. ¶¶ 3,10; Gannon Supp. Decl. [Dkt. No. 462-9]

                                   2   ¶¶ 2.

                                   3           According to NAF’s Senior Director of Communications & Membership, as of June 1,

                                   4   2017, NAF had incurred $1,568.26 in direct security costs to fly a member of their Security Staff

                                   5   to conduct security reviews of the home and office of a NAF member shown in the Preview video.

                                   6   Fowler Decl. ¶ 3. Through June 30, 2017, NAF diverted approximately $26,000 in staff time from

                                   7   regular tasks as a result of the disclosures, assigning those staff to monitor and respond to threats

                                   8   and conduct research into threats related to the disclosures. Supplemental Fowler Decl. ¶ 4 [Dkt.

                                   9   No. 462-5] ¶ 4. An additional $1,282.50 has been incurred for outside consultant staff. Id. & Ex.

                                  10   B. One NAF member facility has been invoiced for direct security costs of $11,411.92 to provide

                                  11   armed security for a physician featured in the Preview video. Id. ¶ 5 & Ex. C.

                                  12           Finally, as of the close of business on Wednesday, May 31, 2017, attorney fees incurred on
Northern District of California
 United States District Court




                                  13   behalf of NAF as a result of the disclosures amount to $96,610.50. Foran Decl. ¶ 35.

                                  14   VII.    OSC RE CONTEMPT HEARING
                                  15           Prior to the OSC re Contempt Hearing, I issued an order identifying the timeline of

                                  16   pertinent events relevant to the OSC hearing. The defendants and respondents offered no material

                                  17   disagreement to the timeline or the evidence offered by NAF. I also posed questions that I

                                  18   intended to ask of civil defense counsel, criminal defense counsel, and Daleiden. July 10, 2017

                                  19   Order Concerning OSC Hearing [Dkt. No. 468]. The questions were:

                                  20                  [For] Ms. Short, Mr. LiMandri, and the other Civil Case Defense
                                                      Counsel:
                                  21                      When did you first become aware of the existence of the
                                                             “Preview” Video? How?
                                  22                      When did you first become aware of the existence of the
                                                             “Defense Filing” playlist videos on CMP’s YouTube
                                  23                         channel? How?
                                                          What steps did you take to comply with my May 25, 2017
                                  24                         Order requiring all efforts be made to take down links to the
                                                             Preliminary Injunction materials?
                                  25                  [For] Messrs. Cooley & Ferreira:
                                                          When did you receive the Preview Video or a link to the
                                  26                         Preview Video? From whom?
                                                          When did you receive a link to the “Defense Filing” playlist
                                  27                         hosted on CMP’s YouTube channel? From whom?
                                                          When did you receive a link to the 144 hours of raw footage
                                  28                         hosted on CMP’s YouTube channel? From whom?
                                                                                         8
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 9 of 24



                                                            When exactly did the Steve Cooley & Associates “Media
                                   1                         Page” about your defense of David Daleiden become
                                                             accessible to the public through the SCA website? Who took
                                   2                         the steps to make that page accessible to the public?
                                                          When did you become aware of my May 25, 2017 Order
                                   3                         requiring all efforts be made to take down links to the
                                                             Preliminary Injunction materials? What steps did you
                                   4                         undertake to comply with that Order?
                                                      [For] Mr. Daleiden:
                                   5                      Did you have any role in creating the Preview video? When
                                                             was it created? Did you upload the Preview video to CMP’s
                                   6                         YouTube channel? When was it uploaded? Have you shared
                                                             the Preview video in any way (i.e., by sharing a link or
                                   7                         sharing the actual video file) with others since its creation?
                                                          Who has “administrator” access to/can post material on
                                   8                         CMP’s YouTube channel?
                                                          Did you have any role in creating/editing the video excerpts
                                   9                         included in the “Defense Filing” playlist on CMP’s YouTube
                                                             channel? Did you upload those videos to CMP’s YouTube
                                  10                         channel? When?
                                                          What steps did you personally take to comply with my May
                                  11                         25, 2017 Order requiring all efforts be made to take down
                                                             links to the Preliminary Injunction materials?
                                  12
Northern District of California




                                       Dkt. No. 468 at 3-4.
 United States District Court




                                  13
                                               At the July 11, 2017 hearing on the OSC re Contempt, the civil case defense counsel
                                  14
                                       refused to answer any of the questions on the basis of the attorney-client privilege.8 Criminal
                                  15
                                       defense counsel Cooley and Ferreira also asserted the attorney-client privilege as the basis for
                                  16
                                       refusing to answer the first four sets of my questions. As to the fifth set of questions (“When did
                                  17
                                       you become aware of my May 25, 2017 Order requiring all efforts be made to take down links to
                                  18
                                       the Preliminary Injunction materials? What steps did you undertake to comply with that Order?”),
                                  19
                                       Cooley and Ferreira both asserted the attorney work-product doctrine in addition to attorney-client
                                  20
                                       privilege, refusing to answer those questions as well. Finally, Daleiden asserted the attorney-
                                  21

                                  22
                                       8
                                  23     While Attorney Matthew Heffron initially stood up and on behalf of “all civil defense counsel”
                                       asserted the attorney-client privilege as a basis to refuse to answer any of my identified questions,
                                  24   Attorney Paul Jonna subsequently stood up and read out a “statement” from Attorney Charles
                                       LiMandri. That statement provided some answers and arguable defenses to contempt with respect
                                  25   to the civil defense counsel. See Transcript of July 11, 2017 hearing at 16:11 – 20:5. However, to
                                       the extent my questions called for attorney-client information (and most did not), LiMandri’s
                                  26   statement arguably waived any properly asserted privilege. See, e.g., id. at 18:14 – 22 (“During
                                       the May 25th teleconference with the Court, Your Honor ordered us to instruct specific persons to
                                  27   remove the YouTube links to the videos within 15 minutes. It's our understanding that any links
                                       posted by those persons the Court asked to us contact were, in fact, removed within 15 minutes.
                                  28   The civil defense counsel confirmed that all the videos we knew and were informed about on
                                       YouTube were down.”).
                                                                                           9
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 10 of 24




                                   1   client privilege and refused to answer any of the four sets of questions I posed to him. As a back

                                   2   up, his counsel also indicated that Daleiden could also take the Fifth Amendment to decline to

                                   3   answer the questions.

                                   4          In declarations submitted after the OSC re Contempt Hearing on July 14, 2017, Cooley and

                                   5   Ferreira declare that the PI materials were “taken down” from YouTube and remote hosts within

                                   6   their control at approximately 4:45 p.m. on May 25, 2017, as confirmed by their computer forensic

                                   7   firm. Dkt. Nos. 477, 478 & 478-1. Neither Cooley nor Ferreira say who took down that material.

                                   8   Nor do they provide any information about who posted the information to their Media Page, when

                                   9   their Media Page went live, when their Media Page was taken down, or who did any of those acts.

                                  10                                           LEGAL STANDARD

                                  11          Civil contempt “consists of a party’s disobedience to a specific and definite court order by

                                  12   failure to take all reasonable steps within the party’s power to comply.” In re Dual–Deck Video
Northern District of California
 United States District Court




                                  13   Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir.1993). “A party may also be held

                                  14   liable for knowingly aiding and abetting another to violate a court order.” Inst. of Cetacean

                                  15   Research v. Sea Shepherd Conservation Soc’y, 774 F.3d 935, 945 (9th Cir. 2014) (citing Regal

                                  16   Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945)). “As a result, a party to an injunction who assists

                                  17   others in performing forbidden conduct may be held in contempt, even if the court’s order did not

                                  18   explicitly forbid his specific acts of assistance.” Id. at 948.

                                  19          As the party alleging civil contempt, NAF must demonstrate that the alleged contemnors

                                  20   violated my Preliminary Injunction by “clear and convincing evidence” and not merely by a

                                  21   preponderance of the evidence. Id. Once the moving party makes that showing, the burden then

                                  22   “shifts to the contemnors to demonstrate why they were unable to comply.” FTC v. Affordable

                                  23   Media, LLC, 179 F.3d 1228, 1239 (9th Cir.1999).

                                  24          “Whether a contempt sanction is civil or criminal is determined by examining ‘the

                                  25   character of the relief itself.’” Ahearn ex rel. N.L.R.B. v. Int'l Longshore & Warehouse Union,

                                  26   Locals 21 & 4, 721 F.3d 1122, 1129 (9th Cir. 2013) (quoting Int'l Union, United Mine Workers of

                                  27   Am. v. Bagwell, 512 U.S. 821, 828 (1994). As “the Supreme Court explained, [] a sanction

                                  28   generally is civil if it coerces compliance with a court order or is a remedial sanction meant to
                                                                                          10
                                           Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 11 of 24




                                   1   compensate the complainant for actual losses. “ Id. “A criminal sanction, in contrast, generally

                                   2   seeks to punish a ‘completed act of disobedience.’” Id. (quoting Bagwell, 512 U.S. at 828).

                                   3           As I noted in the Order Concerning OSC Hearing and explain in more detail below, the

                                   4   sanctions imposed here are civil. They are intended to coerce CMP and Daleiden to abide by the

                                   5   Preliminary Injunction on a going forward basis and remove any incentive for further violations,

                                   6   and they will compensate NAF for the costs and expenses it has reasonably incurred in responding

                                   7   to the disclosures made in violation of the Preliminary Injunction.9

                                   8                                               DISCUSSION

                                   9   I.      FAILURE TO CONTROVERT OR OFFER ANY EVIDENCE
                                  10           NAF presented clear and convincing direct and circumstantial evidence showing that

                                  11   CMP and Daleiden violated the PI by uploading and disclosing PI materials to CMP’s YouTube

                                  12   channel. NAF presented additional clear and convincing evidence that Cooley and Ferreira acting
Northern District of California
 United States District Court




                                  13   on behalf of Daleiden, violated the PI by posting PI material on the SCA Media Page, and

                                  14   including publicly accessible links to PI materials hosted on CMP’s YouTube channel in their

                                  15   court filings.

                                  16           In response, CMP, Daleiden, Cooley, and Ferreira offer no evidence. They dispute

                                  17   whether NAF met its initial burden, but based on the evidence adduced in the OSC proceedings

                                  18   and in the record of this case, NAF has. The burden to prove that they did not violate the PI then

                                  19   shifted to them. Fed. Trade Comm’n v. Enforma Nat. Prod., Inc., 362 F.3d at 1211. Instead of

                                  20   addressing my specific and narrow questions about their respective roles in the creation,

                                  21   uploading, and posting of the PI materials, each of them refused to answer any of my questions,

                                  22   resting on their assertion of the attorney-client privilege.

                                  23

                                  24   9
                                         Defendants’ and respondents’ cases that apply criminal contempt standards to proceedings
                                  25   involving “complex” injunctions are inapposite. See, e.g., Int'l Union, United Mine Workers of
                                       Am. v. Bagwell, 512 U.S. 821, 837 (1994) (distinguishing the injunction at issue from “a complex,
                                  26   complex injunction” where court “effectively policed petitioners’ compliance with an entire code
                                       of conduct”); U.S. Equal Employment Opportunity Comm'n v. Univ. of Louisiana at Monroe, No.
                                  27   CV 05-1158, 2016 WL 917331, at *3 (W.D. La. Mar. 8, 2016 (court addressed “complex factual
                                       interpretations of the Decree”). This Court’s injunction is in no way “akin to ‘an entire code of
                                  28   conduct that the court itself had imposed.’” N.Y. State Nat. Org. for Women v. Terry, 41 F.3d 794,
                                       797 (2d Cir. 1994) (quoting Bagwell, 512 U.S. at 837).
                                                                                        11
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 12 of 24




                                   1          I explicitly stated in the July 10th Order Concerning OSC Hearing and at the start of the

                                   2   hearing that the only potential form of contempt being considered was civil contempt. Criminal

                                   3   contempt was not contemplated. Dkt. No. 468 at 1. In the context of civil contempt, adverse

                                   4   inferences are appropriately drawn in light of refusals to testify or rebut evidence, even where the

                                   5   refusal is made on Fifth Amendment grounds. See, e.g., Aradia Women's Health Ctr. v. Operation

                                   6   Rescue, 929 F.2d 530, 532 (9th Cir. 1991) (adverse inferences permissible to draw from

                                   7   invocation of Fifth Amendment privilege).

                                   8          Moreover, the vast majority of questions I posed did not call for disclosure of attorney-

                                   9   client privileged information or attorney work-product, such as when someone learned about a

                                  10   certain action, who had access to CMP’s YouTube channel, when the SCA Media Page went live,

                                  11   or what steps they took to comply with my May 25th Order. Nonetheless, Daleiden, Cooley, and

                                  12   Ferreira each refused to answer any part of my questions based on the attorney-client privilege.10
Northern District of California
 United States District Court




                                  13   Even if there was a good-faith basis to assert the attorney-client privilege to refuse to answer the

                                  14   questions (and I do not find that there was), defendants and respondents could have chosen to

                                  15   make a limited waiver of the privilege. They could have asked to give their answers to me ex

                                  16   parte with an order limiting the waiver to the questions posed for purposes of determining whether

                                  17   they should be held in civil contempt. They did not seek to do this either. Instead, they chose to

                                  18   stonewall my effort to discover their version of the truth.

                                  19          NAF’s clear and convincing showing remains unrebutted. Given that showing it is not

                                  20   necessary to draw “adverse” inferences against defendants and respondents. To be sure, the

                                  21   reasonable inferences supported by NAF’s evidence only strengthen my conclusions. As

                                  22   discussed below, the direct and circumstantial evidence lead to the conclusion that CMP,

                                  23   Daleiden, Cooley and Ferreira each knowingly violated the PI.

                                  24   II.    DALEIDEN AND CMP
                                  25          NAF’s evidence shows that CMP produced the “new” Preview video and asked supporters

                                  26
                                       10
                                  27      As noted above, after the OSC re Contempt Hearing, Cooley and Ferreira submitted
                                       declarations that, as confirmed by their forensic expert, the PI materials had been taken down by
                                  28   4:45 p.m. Dkt. Nos. 477, 478. Those declarations, however, do not answer my questions
                                       concerning the steps Cooley and Ferreira took in response to my May 25 Order.
                                                                                         12
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 13 of 24




                                   1   to share it and get more information from CMP’s website. According to NAF, the Preview video

                                   2   “has all the hallmarks” of the prior videos that Daleiden admittedly produced and took credit for

                                   3   on behalf of CMP, videos whose release led to the filing of this action. It is undisputed that the

                                   4   Preview video was uploaded to CMP’s YouTube channel, as were the 14 videos containing

                                   5   excerpts of PI recordings labelled by each Doe’s name as the “Accusers” playlist, as were the 337

                                   6   videos (334 of which contained recordings covered by the PI) under the “Defense Filing” playlist.

                                   7   It is significant that both the Preview video and the Accusers playlist videos were not just raw

                                   8   footage but were edited and cut down from over 500 hours of recordings from the NAF Annual

                                   9   Meetings. The Accusers playlist is comprised of excerpts of recordings showing and identifying

                                  10   the Does in the Criminal Complaint. The Preview video shows seven of those Does and contains

                                  11   other excerpts of PI recordings; excerpts I viewed and addressed in the Preliminary Injunction

                                  12   Order that were characterized by NAF as misleadingly edited and taken out of context and
Northern District of California
 United States District Court




                                  13   characterized by defendants as showing criminal acts or extreme callousness by NAF members.

                                  14   The conclusion I draw from the direct and circumstantial evidence, from Daleiden’s admitted role

                                  15   with CMP, and from his failure to rebut NAF’s allegations, is that Daleiden was the one who

                                  16   created the Preview video and Accusers playlist, uploaded them onto CMP’s YouTube channel,

                                  17   and forwarded those links to his criminal counsel for their use on his behalf.

                                  18          Daleiden’s civil case defense counsel has described Daleiden as being the person with

                                  19   intimate knowledge of the 500 hours of recordings. That characterization was made in support of

                                  20   defendants’ objection to NAF’s prior request for me to order Daleiden and his civil counsel to

                                  21   relinquish control over the PI materials. According to civil defense counsel at that time, counsel

                                  22   needed Daleiden to retain control over the recordings so that he could parse through the materials

                                  23   to help them defend this case.

                                  24          All of the relevant videos – both edited/excerpted and the raw footage – were uploaded to

                                  25   CMP’s YouTube channel.11 At the time of the materials were uploaded to CMP’s YouTube

                                  26
                                       11
                                  27     Daleiden has declared under penalty of perjury that he is the founder and “Director” of CMP.
                                       See Dkt. Nos. 268-2 ¶ 2. Daleiden’s counsel has also sought relief on the theory that CMP is not a
                                  28   separate entity from Daleiden, in other words that Daleiden and CMP are one and the same. See,
                                       e.g., Dkt. No. 103 at 1-3; Dkt. No. 118 at 1-3.
                                                                                       13
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 14 of 24




                                   1   channel between May 3, 2017 and May 24, 2017, Daleiden had possession of the PI materials.

                                   2   There is no evidence, except for the limited production of just over 20 video excerpts provided by

                                   3   the DAG to SCA on May 16, 2017, that the SCA attorneys had access to those materials prior to

                                   4   May 24, 2017, much less the intimate knowledge of where in the over 500 hours of recordings

                                   5   excerpts showing the Does could be found. Similarly, there is no evidence that the 337 videos

                                   6   comprising the Defense Filings playlist (including 144 hours of raw footage from the NAF Annual

                                   7   Meetings) was in the criminal defense counsel’s possession before they were uploaded to CMP’s

                                   8   YouTube channel.12

                                   9          Daleiden and CMP admit the “inescapable inference” from the facts is:

                                  10                  that someone with access to CMP’s YouTube channel posted
                                                      enjoined videos to a private—i.e., accessible by direct link only—
                                  11                  playlist on YouTube and then provided that link to Daleiden’s
                                                      criminal counsel with the apparent expectation that the videos would
                                  12                  be used as evidence in Daleiden’s criminal case. Plaintiffs have
Northern District of California
 United States District Court




                                                      provided no evidence suggesting that Daleiden or CMP had any
                                  13                  expectation that the videos would be used in any other way than that
                                                      single one.
                                  14
                                       Daleiden/CMP OSC Resp. [Dkt. No. 433-2] at 12 (emphasis added). According to Daleiden and
                                  15
                                       CMP, criminal defense counsel played no role in the creation or uploading of the videos and
                                  16
                                       recordings to CMP’s YouTube channel.13 In light of Daleiden and CMP’s deafening silence as to
                                  17
                                       their role, there is clear and convincing evidence sufficient to hold them in contempt.14
                                  18
                                              In addition to their self-created “no evidence” argument, Daleiden and CMP raise a
                                  19

                                  20

                                  21   12
                                         In their brief, Cooley and Ferreira assert that at the time Presiding Judge Jackson ordered the
                                  22   DAG to make all seized evidence available to SCA for purposes of privilege review, “Defense
                                       counsel already possessed the videos for purposes of investigating the case against Mr. Daleiden.”
                                  23   SCA OSC Resp. at 3. There is, however, no declaration or other evidence supporting that
                                       assertion.
                                  24   13
                                         CMP and Daleiden also admit they knew SCA planned to “use,” and therefore disclose and
                                  25   publish, the videos.
                                       14
                                  26     There is some additional evidence that CMP likely acting through Daleiden directly disclosed
                                       the Preview video, separate and apart from SCA’s disclosure. For example, the 12:01 am EST
                                  27   May 25, 2017 publication of the Preview video on the National Review’s website, where the
                                       National Review attributed the shocking new video to CMP. There is no mention of SCA in
                                  28   connection with the Preview video. Foran Decl., Ex. J; Foran Second Supp. Decl., Ex. B.

                                                                                        14
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 15 of 24




                                   1   number of other arguments that they cannot or should not be held in civil contempt. First, they

                                   2   argue that there is insufficient evidence that the disclosures of the PI materials caused NAF harm

                                   3   resulting from Daleiden’s and CMP’s alleged role in the disclosures because of the alleged lack of

                                   4   evidence of any harm flowing from the Demurrer and RJN link to the Defense Filing playlist.

                                   5   Dalieden/CMP Resp. OSC at 6-7. Defendants are wrong. See Foran Decl. ¶ 31 (noting efforts

                                   6   NAF and its counsel took to take down all 150 hours of materials from all three YouTube links

                                   7   uploaded to Google by one particular user).15

                                   8            Second, Daleiden and CMP argue that they bear no responsibility for the ultimate

                                   9   disclosures on SCA’s Media Page. As an initial matter, this argument wholly ignores that the first

                                  10   “disclosure” (if not publication) was the uploading of PI materials to YouTube during the May

                                  11   2017 time period. The PI prevented CMP and Daleiden from “publishing or otherwise disclosing

                                  12   to any third-party” any of the materials covered by the PI. Dkt. No. 354 at 42. Daleiden and CMP
Northern District of California
 United States District Court




                                  13   do not defend why the uploading of materials to a server operated and controlled by a third-party

                                  14   is not a disclosure to a third-party. Even if the links were “unlisted” and “private” so that they

                                  15   could not be seen (yet) by members of the public, those videos were still disclosed to a third-party,

                                  16   namely YouTube and its employees. The whole purpose of YouTube is to facilitate video-

                                  17   sharing. Marking a video as “private” does not mean it cannot be shared, but only that it will not

                                  18   be searchable or viewable absent having received a link to it. See, e.g., Viacom Int’l Inc. v.

                                  19   Youtube Inc., 253 F.R.D. 256, 264 (S.D.N.Y. 2008) (discussing YouTube.com’s default public

                                  20   setting and how videos marked as “private” are nonetheless sharable). The only reasonable

                                  21   conclusion to draw from uploading materials to YouTube is that they were uploaded for the

                                  22   purpose of facilitating the publishing and distribution of those videos, which is what in fact

                                  23   occurred.16

                                  24
                                       15
                                  25     Defendants argue that if there was a violation of the PI, NAF can only be compensated for
                                       harms flowing from the first disclosure, i.e., defense counsel’s choice to make public the Defense
                                  26   Filing link in the Demurrer and RJN, and that subsequent or cumulative disclosures cannot have
                                       separately harmed NAF. Defendants’ OSC Resp. at 6-7. That argument, if accepted, would give
                                  27   contemnors a free pass to continue their contempt and provide no disincentive to continued or
                                       future violation of court orders.
                                  28   16
                                            At oral argument, counsel for Daleiden and CMP posited that the videos could have been
                                                                                        15
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 16 of 24




                                   1          Beyond this unaddressed point, Cooley and Ferreira admit that they posted the PI materials

                                   2   and links to CMP’s YouTube playlists on their client’s behalf. SCA OSC Resp. at 13. While

                                   3   Daleiden attempts to walk away from the conduct of his criminal defense attorneys, he cannot. As

                                   4   the Supreme Court has explained, “[p]etitioner voluntarily chose this attorney as his representative

                                   5   in the action, and he cannot now avoid the consequences of the acts or omissions of this freely

                                   6   selected agent. Any other notion would be wholly inconsistent with our system of representative

                                   7   litigation, in which each party is deemed bound by the acts of his lawyer-agent and is considered

                                   8   to have ‘notice of all facts, notice of which can be charged upon the attorney.’” Link v. Wabash R.

                                   9   Co., 370 U.S. 626, 633–34 (1962). Had Daleiden come forward with sworn testimony that he did

                                  10   not know, intend, or approve his attorneys to publicly disclose these materials, additional analysis

                                  11   might be required. 17 But given Daleiden’s silence, no additional analysis is required.18

                                  12          Daleiden attempts to escape liability for anything SCA did with the YouTube links because
Northern District of California
 United States District Court




                                  13   he acted in good faith and believed that this Court’s PI could not possibly prohibit the use of the

                                  14   videos in his criminal proceeding. CMP/Daleiden Resp. OSC at 6-7. As an initial matter,

                                  15   generalized “good faith” isn’t a defense to civil contempt based on violation of a court order,

                                  16   absent a showing that the court’s order was ambiguous or vague. See Inst. of Cetacean Research

                                  17   v. Sea Shepherd Conservation Soc'y, 774 F.3d 935, 953 (9th Cir. 2014). There is no argument that

                                  18
                                  19
                                       uploaded to YouTube for the limited purpose of “sharing” them with criminal defense counsel, an
                                  20   action that in their view would not have violated the PI. That potential explanation is not
                                       supported by a declaration or by any reasonable inference from the evidence that is in the record.
                                  21   Neither the attorney-client privilege nor work product doctrine would have been necessary to
                                       shield such an explanation.
                                  22   17
                                          Daleiden’s own conduct with uploading the materials to CMP’s YouTube channel would still be
                                  23   at issue. This is not “a situation where the lawyer alone commits misconduct and the court visits
                                       the lawyer’s sins on the innocent client when awarding sanctions.” Douglas R. Richmond,
                                  24   Sanctioning Clients for Lawyers' Misconduct-Problems of Agency and Equity, 2012 Mich. St. L.
                                       Rev. 835, 837 (2012).
                                  25   18
                                         During oral argument, defendants’ counsel also relied on Lal v. California, 610 F.3d 518 (9th
                                  26   Cir. 2010), to argue that Daleiden and CMP should not be held liable for SCA’s “gross
                                       negligence” if I determine that Cooley and Ferreira violated the PI. As discussed, I find Daleiden
                                  27   and CMP in contempt for their own conduct, separate and apart from the conduct of Cooley and
                                       Ferreira. In addition, Lal is inapposite. It addresses whether attorney gross negligence constitutes
                                  28   an “extraordinary circumstance” for relief under Fed. R. Civ. Proc. 60(b). Id. at 524-527.

                                                                                        16
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 17 of 24




                                   1   the short, simple commands of the Preliminary Injunction are vague or ambiguous. Even if

                                   2   Daleiden may have held a genuine a belief that the PI did not reach use of the videos in support of

                                   3   his criminal defense (and there is no evidence what Daleiden’s alleged good faith belief was

                                   4   because Daleiden refused to answer any questions at the OSC re Contempt Hearing and failed to

                                   5   provide a declaration to support the existence of his supposed good faith belief), that does not

                                   6   provide him cover. Id. at 943 (rejecting “Defendants’ self-serving interpretation of their

                                   7   obligations under our injunction” as an unwarranted invitation to “experimentation with

                                   8   disobedience”).

                                   9          Moreover, as will be described in more detail below, the vast majority of the videos

                                  10   uploaded to YouTube and published on websites, Twitter, and eventually on the SCA Media Page

                                  11   had little or nothing to do with the criminal court filings and arguments made in Superior Court.

                                  12   The Criminal Complaint is limited to recordings made in California, but many hours of recordings
Northern District of California
 United States District Court




                                  13   disclosed by Daleiden, CMP, Cooley and Ferreira were taken at NAF’s Baltimore meeting and are

                                  14   irrelevant to the criminal proceedings. Moreover, while the Defense Filing list was submitted to

                                  15   the Superior Court in support of the Demurrer,19 the Preview video and the Accusers playlist were

                                  16   not.

                                  17          Finally, Daleiden and CMP argue that NAF has not established its entitlement to damages

                                  18   for the contempt. I disagree. The declarations of Fowler and Gannon from NAF and the Foran

                                  19   Declarations show exactly how NAF was damaged; by having to expend money, staff time, and

                                  20   attorney time (a) to identify and get websites to take down the PI materials, (b) to address their

                                  21   members’ security needs caused by the identification of those members in the disclosed PI

                                  22   materials and the threats those members received following the May 25 disclosures, (c) to monitor

                                  23   websites for PI materials and threats against the members identified in the disclosed PI materials,

                                  24   and (d) by their attorneys’ legal efforts to secure take downs and sanctions. The harms have been

                                  25   identified and sufficiently established. The reasonable amount of monetary sanctions necessary to

                                  26
                                       19
                                  27     The Defense Filing list should have been filed under seal, absent an order of the Superior Court.
                                       As noted above, the Superior Court denied Daleiden’s request that it take judicial notice of the
                                  28   videos and removed them from the docket. See supra.

                                                                                        17
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 18 of 24




                                   1   compensate NAF for those harms will be “proved up” as described below.

                                   2   III.   COOLEY AND FERREIRA
                                   3          The facts showing express and repeated violations of the PI are even stronger with respect

                                   4   to Cooley and Ferreira. The SCA Media Page expressly acknowledged the existence of the PI and

                                   5   that the PI prevented Daleiden from “publishing or otherwise disclosing to any third-party” any

                                   6   recordings covered by the PI.20

                                   7          Cooley and Ferreira argue, instead, that they reasonably believed the PI did not bind them,

                                   8   even though they admit that at all times they were acting on their client’s behalf. SCA OSC Resp.

                                   9   at 4. Cooley and Ferreira admit that all of their acts were in furtherance of representing their

                                  10   client. But if Daleiden could not violate the PI, they could not do so on his behalf. Rule 65(d)

                                  11   specifically binds a party’s “officers, agents, servants, employees, and attorneys” to an injunction

                                  12   binding the party. Fed. R. Civ. Proc. 65(d)(2(B).
Northern District of California
 United States District Court




                                  13          Cooley and Ferreira’s arguments that they had a good faith belief the injunction did not

                                  14   cover them fails for the same reasons that argument fails for Daleiden.21 There is nothing

                                  15   ambiguous about the scope of or language in the PI. That the PI does not “enjoin in the future

                                  16   criminal defense counsel” from using the PI materials “should criminal charges be brought in a

                                  17   separate sovereign” is irrelevant. SCA OSC Resp. at 10. The PI expressly covered Daleiden, and

                                  18   Cooley and Ferreira were at all times working as his agents. If there was any doubt, prudent

                                  19   counsel could have sought guidance from me or from the Superior Court. Cooley and Ferreira did

                                  20   not.22 They decided to publicly disclose the materials with full knowledge of the existence of the

                                  21
                                       20
                                  22     As noted above, Cooley and Ferreira provide no evidence explaining how they received the
                                       information at issue – the Preview video link to embed on their site, the YouTube link to the
                                  23   Accuser playlist containing excerpts from PI recordings showing the Does named in the Criminal
                                       Complaint, or the YouTube Defense Filings playlist linking to the 144 hours of raw footage. As
                                  24   discussed above and arguably admitted by CMP and Daleiden, the only reasonable conclusion is
                                       that all of the YouTube materials were edited, uploaded to YouTube, and delivered via link to
                                  25   Cooley and Ferreira by Daleiden.
                                       21
                                  26      As with Daleiden, neither Cooley nor Ferreira submit a declaration attesting under penalty of
                                       perjury as to what their belief actually was with respect to the PI. There is simply no evidence at
                                  27   all on this topic.
                                       22
                                  28     In contrast, the civil case defense counsel notified me that a defendant received a grand jury
                                       subpoena from a local law enforcement agency and that they expected the testimony and responses
                                                                                         18
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 19 of 24




                                   1   PI binding their client and them.

                                   2          Cooley and Ferreira also argue that the PI could not prevent them from publicly disclosing

                                   3   the PI materials because they did so in order to mount a full and vigorous criminal defense for

                                   4   Daleiden. In their OSC Response, Cooley and Ferreira do not even attempt to show how the

                                   5   embedding of the Preview video on their website and providing the link to the Accusers YouTube

                                   6   playlist was done in connection with contemplated or actual legal proceedings in Superior Court.

                                   7   Instead, they focus on their use of the Defense Filing YouTube playlist in their Demurer and RJN,

                                   8   arguing that it was important to submit that to the Superior Court to “defend their client’s right to

                                   9   due process as well as demonstrate to the superior court their position that the videos themselves

                                  10   disproved there was a violation of any alleged victim’s right to privacy.” SCA OSC Resp. at 4.

                                  11   They fail to acknowledge that submission of the Defense Filing YouTube link was unnecessary

                                  12   when they also filed a thumb drive containing the same videos. Nor do they address why, if using
Northern District of California
 United States District Court




                                  13   the link in the Demurrer itself and the RJN was necessary, they did not file those portions of the

                                  14   documents under seal. They fail to address that if their purpose was to defend their client’s right

                                  15   to due process – presumably access to the Does’ names and specific identification of the

                                  16   recordings charged by the AG (the arguments that were made in the Demurrer) – and to show that

                                  17   there was no privacy violation, why did they include in that link recordings made at NAF’s

                                  18   Baltimore conference (which were not charged in the Criminal Complaint)? Why did they include

                                  19   all 144 hours when the vast majority of those hours were irrelevant to the issues raised?

                                  20          Absent explanation from Cooley and Ferreira, the only conclusion I can draw from the

                                  21   uncontroverted facts is that Cooley and Ferreira’s use of the Defense Filing link was a wholly

                                  22   gratuitous effort to give Cooley and Ferreira a fig leaf to cover their plan to violate the PI by

                                  23   making the raw footage and the other videos available to the public. Despite the lip service

                                  24   argument that disclosure of the raw footage was necessary to show the Court and the public why

                                  25   the Demurrer should be granted, Cooley and Ferreira admit that their real goal was to score a win

                                  26
                                  27   called for might touch upon or disclose PI information. Dkt. No. 323-3. Counsel notified me in
                                       advance of the appearance and sought guidance to the extent I had concerns about that intended
                                  28   testimony. No response from me was necessary, but the civil case defense counsel adopted the
                                       appropriate approach, seeking guidance in advance.
                                                                                       19
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 20 of 24




                                   1   in the court of public opinion by releasing the PI materials. They admit that the decision to post

                                   2   the videos on their website “was in the first instance a way criminal defense counsel through

                                   3   which they could get their side of the story out.” SCA OSC Resp. at 5. Relying on the fact that

                                   4   they had first failed to file under seal the YouTube link in the Demurrer and RJN, and that the AG

                                   5   had not objected to the YouTube link in the Demurrer and RJN, Cooley and Ferreira argue that

                                   6   they believed they were then free to include that link on their website as well as the edited and

                                   7   excerpted Preview video and Accuser playlist “in response to the Attorney General’s press

                                   8   release” on the criminal case. Id. There is no rational or legal basis for such a belief.

                                   9          Cooley and Ferreira also complain of a double standard, arguing that because the

                                  10   California Attorney General is not bound by the Preliminary Injunction and is free to use the PI

                                  11   materials, they should be free to do so as well. SCA OSC Resp. at 11. However, what law

                                  12   enforcement agencies do with evidence secured through legally obtained search warrants or
Northern District of California
 United States District Court




                                  13   pursuant to criminal subpoenas is not something I have interfered with or intend to interfere with.

                                  14   See Dkt. No. 323-3.23 Cooley and Ferreira are not on equal footing with state or local law

                                  15   enforcement agencies.

                                  16          I also reject Cooley and Ferreira’s argument that complying with the Preliminary

                                  17   Injunction would hamper their ability to defend Daleiden. They have already made a successful

                                  18   (in part) Demurrer. Foran Reply Decl., Ex. C (Transcript of Superior Court proceedings).24 As

                                  19   the criminal case progresses, I will not interfere with Judge Hite’s determinations concerning what

                                  20   information about the Does or what portion of the relevant recordings should become publicly

                                  21   accessible or disclosed in connection with the criminal pre-trial and trial proceedings. Those

                                  22   determinations are Judge Hite’s, not Cooley’s, Ferreira’s or Daleiden’s.25

                                  23
                                       23
                                  24     Relatedly, a number of subpoenas were issued by state attorneys generals for the PI materials.
                                       NAF and defendants negotiated agreements to defer responses or legal challenges to those
                                  25   subpoenas pending the appeal of the Preliminary Injunction Order. I have taken steps to ensure
                                       that those attorney generals supported those deferments. See Dkt. Nos. 379, 380.
                                  26   24
                                         In so ruling, Judge Hite declined to take judicial notice of the videos and ordered the flash drive
                                  27   removed from the court’s docket. Id. at 5:27 – 6:5.
                                       25
                                  28       There is no support for defendants’ or respondents’ assumption that, given Daleiden’s public
                                       trial rights under the Sixth Amendment, all of the PI materials they disclosed in contravention of
                                                                                        20
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 21 of 24




                                   1          Defendants and respondents’ apparent request for Younger abstention with respect to the

                                   2   PI has no merit. In Younger v. Harris, 401 U.S. 37 (1971), the Supreme Court explained how

                                   3   “interests of comity and federalism counsel federal courts to abstain from jurisdiction whenever

                                   4   federal claims have been or could be presented in ongoing state judicial proceedings that concern

                                   5   important state interests.” Hawaii Hous. Auth. v. Midkiff, 467 U.S. 229, 237–38 (1984).

                                   6   Abstention is not warranted here because significant federal proceedings have already occurred,

                                   7   and they occurred well before the state court action was initiated. Id.26 Instead, because “federal

                                   8   courts must normally fulfill their duty to adjudicate federal questions properly brought before

                                   9   them,” this case will proceed (pending exhaustion of the Supreme Court certiorari process by

                                  10   defendants if they choose to seek it) and the PI remains in place and in effect. Id. Finally, even if

                                  11   Younger abstention was theoretically feasible, it is not necessary given the lack of any true conflict

                                  12   between NAF’s interests in this case and Daleiden’s ability defend himself in state court.
Northern District of California
 United States District Court




                                  13                                   CONCLUSION AND REMEDIES

                                  14          Based on the foregoing, defendants Center for Medical Progress and David Daleiden, and

                                  15   Daleiden’s criminal defense attorneys Steve Cooley and Brantford J. Ferreira, as the agents of

                                  16   Daleiden, ARE FOUND IN CIVIL CONTEMPT for violating the clear mandate of the

                                  17   Preliminary Injunction Order, due to the following conduct each of them facilitated, conducted, or

                                  18   directed:

                                  19          (i) the uploading and hosting of the Preview video containing recordings covered by the PI

                                  20          Order on CMP’s YouTube channel; the posting of CMP’s Preview video on the SCA

                                  21          website; and the posting/sharing of CMP’s Preview video through links to its location on

                                  22          CMP’s YouTube channel;

                                  23          (ii) the uploading and hosting excerpts of video materials covered by the PI Order on

                                  24

                                  25   the PI would become public through the trial. For example, they ignore that a substantial amount
                                       of the disclosed PI materials were from the Baltimore NAF meeting and there are no criminal
                                  26   charges related to those recordings. Judge Hite will determine what is relevant, admissible, and
                                       accessible to the public in the criminal proceedings.
                                  27   26
                                         The posture of this case is the opposite of the posture in Pennzoil Co. v. Texaco, Inc., 481 U.S. 1
                                  28   (1987), relied on by respondents. In that case, Texaco filed a federal action after a state court jury
                                       verdict, to prevent that verdict from becoming an enforceable judgment. Id. at 5-6.
                                                                                         21
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 22 of 24




                                   1          CMP’s YouTube channel, subsequently collected as the “Superior Court Defense Filing -

                                   2          Accusers” playlist; posting on SCA’s website the link to the Accusers playlist hosted on

                                   3          CMP’s YouTube channel; and

                                   4          (iii) the uploading and hosting of the over 144 hours of PI Materials to CMP’s YouTube

                                   5          channel collected as the Defense Filing playlist; the posting on SCA’s website of the

                                   6          Demurrer and related Request for Judicial Notice, making the link to the Defense Filing

                                   7          playlist hosted on CMP’s YouTube channel accessible to the public; and the failure to file

                                   8          Footnote 1 and Ex. 1 to RJN under seal in the first instance.

                                   9          In order to secure these parties’ and respondents’ current and future compliance with the

                                  10   Preliminary Injunction Order and to compensate NAF for expenses it has incurred that are directly

                                  11   the result of the violation of the Court’s Preliminary Injunction Order, CMP, Daleiden, Cooley,

                                  12   and Ferreira are held jointly and severally liable for:
Northern District of California
 United States District Court




                                  13          (i) NAF’s security costs, incurred from May 25, 2017 as a result of the violations of the

                                  14          Preliminary Injunction Order. NAF’s Security Costs are calculated, based on the Fowler

                                  15          declarations as:

                                  16                  (a) $1,568.26, for the security assessment of the home and office of one of the

                                  17                  individuals named and featured in the Preview video. Fowler Decl. ¶3.

                                  18                  (b) $11,411.92, for security costs incurred by a NAF-member facility to protect a

                                  19                  physician identified in the Preview video. Fowler Supp. Decl. ¶ 5 & Ex. C.

                                  20          (ii) NAF’s personnel time, incurred as a result of the violations of the Preliminary

                                  21          Injunction Order, because NAF was required to divert in-house staff from other work and

                                  22          provide additional assignments to outside consultants. NAF’s personnel costs are

                                  23          calculated, based on the Fowler Declarations, as:

                                  24                  (a) $26,000 for in-house staff time through June 30, 2017. Fowler Supp. Decl. ¶ 4.

                                  25                  (b) $1,282.50 for outside consultant time. Id.

                                  26          (iii) NAF’s attorneys’ fees incurred as a result of the violations of the Preliminary

                                  27          Injunction, including counsel’s efforts to get websites to “take down” the PI materials and

                                  28          the time reasonably incurred in communicating with civil and criminal defense counsel and
                                                                                         22
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 23 of 24




                                   1          moving for contempt sanctions. The amount of attorneys’ fees incurred by NAF’s counsel,

                                   2          as of June 1, 2017, is $96,610.50. Foran Decl. [Dkt. No. 462-5] ¶ 37.

                                   3          By July 28, 2017, NAF’s counsel shall lodge in camera with chambers their detailed and

                                   4   contemporaneous billing records substantiating their attorneys’ fees request. At the same time,

                                   5   NAF shall e-file a redacted copy of the same, redacting only information protected by the

                                   6   attorney-client or attorney work product doctrines. By August 4, 2017, if they wish, counsel for

                                   7   CMP, Daleiden, Cooley, and Ferreira may file a joint objection, not exceeding 10 pages,

                                   8   challenging specific entries or the reasonableness of the time spent by NAF’s counsel.

                                   9          Similarly, by July 28, 2017, NAF shall lodge in camera with chambers a detailed

                                  10   breakdown of the $26,000 in time NAF has incurred by diverting in-house staff to respond to the

                                  11   disclosures. That breakdown shall list the title of each staff member whose time is sought, the

                                  12   hourly rate sought for staff member’s time, the hours spent by each staff member, and a general
Northern District of California
 United States District Court




                                  13   description of the tasks completed by each staff member. At the same time, NAF shall e-file a

                                  14   redacted version (if redaction is necessary) of the same. By August 4, 2017, if they wish, counsel

                                  15   for CMP, Daleiden, Cooley, and Ferreira may file a joint objection, not exceeding 10 pages,

                                  16   challenging specific entries or the reasonableness of the time spent by NAF’s in-house staff.

                                  17          I will take the billing records and any objections under submission, and issue a final order

                                  18   quantifying the total amount of sanctions imposed for the civil contempt.

                                  19          In addition to these monetary sanctions, as announced at the hearing on July 11, 2017, I

                                  20   ORDER the following:

                                  21          (i) On or before Friday July 14, 2017, CMP, Daleiden, Cooley, and Ferreira must confirm

                                  22          under oath that they have “taken down” or otherwise removed any materials covered by the

                                  23          PI Order from any third-party hosting service (e.g., YouTube) and removed any materials

                                  24          covered by the PI Order from websites under their control27; and

                                  25          (ii) On or before Friday July 14, 2017, CMP and Daleiden must turn over to counsel all

                                  26
                                  27   27
                                         Pursuant to the Minute Order following the July 11, 2017 hearing, on July 13, 2017 and on July
                                  28   14, 2017, Daleiden, Cooley and Ferreira filed these confirmations under oath. Dkt. Nos. 476, 477,
                                       478.
                                                                                       23
                                        Case 3:15-cv-03522-WHO Document 482 Filed 07/17/17 Page 24 of 24




                                   1          materials covered by the PI Order and must not retain control over any of that material,

                                   2          absent further Order of this Court or the Superior Court handling the criminal matter.

                                   3          Absent an order from this Court or the Superior Court providing Daleiden with greater

                                   4          access to that material, Daleiden may only access the PI material onsite at the offices of

                                   5          SCA or his civil defense counsel.

                                   6          In imposing these sanctions for civil contempt, I have considered the character and

                                   7   magnitude of “the harm threatened by continued contumacy, and the probable effectiveness of any

                                   8   suggested sanction in bringing about the result desired.” United States v. United Mine Workers of

                                   9   Am., 330 U.S. 258, 304 (1947). If there are any further violations of the PI, I will move swiftly to

                                  10   ensure compliance with the PI. If that occurs, I will consider further and more significant civil

                                  11   sanctions, as well as criminal contempt sanctions.

                                  12
Northern District of California




                                              IT IS SO ORDERED.
 United States District Court




                                  13

                                  14   Dated: July 17, 2017

                                  15

                                  16
                                                                                                    William H. Orrick
                                  17                                                                United States District Judge
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